Case 2:25-cv-02836-RER-JMW Document3_ Filed 05/21/25 Page 1 of 4 PagelD #: 69

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT cree P
for the US. DISTRICT COURTED.NY
Eastern District of New York se MAY 21 005 e
GLORIA MALESARD! LONG ISLAND OFFICE
) .
) ~~
Plaintiffs) ) C V 25 2 8 3 6
Vv. Civil Action No.
LONNIE FINKEL AND FINKEL LAW GROUP, P.C. )
a Cali Corni oe profess! ova | corporation J 2 Reyes
)
Defendant) WICKS, M.J.
SUMMONS IN A CIVIL ACTION
RECEIVED

To: (Defendant’s name and address) LONNIE FINKEL
4999 HARRISON STREET, SUITE 1800 MAY 21 2995

REC'D IN PRO SE DFEICE OAKLAND, CA 94612
MOY 2125 en? 2? BDNY PRO GE orice

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Gloria Ualesardi
gales FIFth Street
Eact Meadow, NY usst

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

rele

BRENNA B. MAHONEY
CLERK OF COURT

Date: May Zl, 2025 YL hh ~~ foe

“Signature of Clerk or Deputy Clerk
AO 440 (Rev, 06/12) Summons in a Civil Action (Page Z)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

( I personally served the summons on the individual at (place)

on. (date) ; OF

C} 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individuai’s last known address; or

[served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) or
 LIreturned the summons unexecuted because ‘or
Ol Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 2:25-cv-02836-RER-JMW Document3_ Filed 05/21/25 Page 3 of 4 PagelD#: 71

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UNITED STATES DISTRICT COURT ofthe?

for the U.S. DISTRICT COURT ED.NY
Eastern District of New York mw MAY 24 2025 ok
GLORIA MALESARDI LONG ISLAND OFFICE
Plaintiff(s) ) C V 9 5 oO Q Q G
v. Civil Action No. !
LONNIE FINKEL AND FINKEL LAW GROUP, P.C. _, -)
a California pro fessional Cor poratin\ J. Reyes
. )
Defendant(s) ) WICKS, M J,
SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) FINKEL LAW GROUP 7 C+) & Cahifornio. Professional c or porostion
1999 HARRISON STREET, SUITE 1800 RECEIVED
OAKLAND, GA 94612 MAY 2 1 ame
REC’D IN PRO SE OFFICE 2 1 2025

MAY 21°25 pu2:27 EDNY PRo 9 OF Fic
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: A, | { .
loria Maleserai
2202 Fie Strvel 8
Bast Headow, NY SSY

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BRENNA B. MAHONEY
CLERK OF COURT ie bef

Date: Flay Z|, Zo2S ML, bine ~ eas

" Signature of Clerk or Deputy Clerk’ '§ re

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AO 440 (Rey. 06/12) Summons in a Civil Action (Page 2)

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Server's address eS

Additional information regarding attempted service, etc: ffs
